
Having reviewed the briefs and heard oral arguments on defendant's appeal on 17 March 2008, the Court ex mero motu withdraws its previous order, dated 11 October 2007, denying plaintiffs petition for discretionary review, and allows plaintiffs petition for discretionary review for the limited purpose of ordering briefing on the questions of (i) defendant's preservation for appellate review of the issue of the public duty doctrine and (ii) the implication, if any, of the Industrial Commission's finding of fact number nine on the application of the public duty doctrine.
Plaintiff shall have thirty (30) days from the date of this order to file and serve his brief, and defendant shall have thirty (30) days from the service of plaintiffs brief to file and serve its brief.
The Court will render its decision without further oral argument.
By order of the Court in Conference, this 27th day of March, 2008.
